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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MINNESOTA

 In re:                                               BKY No. 20-41592

 The Comet Clothing Company, LLC,                     Chapter 11, Subchapter V

                  Debtor.


                               UNSWORN CERTIFICATE OF SERVICE

      I, Linda Marie Smith, declare under penalty of perjury that on April 26, 2021, I served a
copy of the attached:

Notice of Hearing and Motion of Debtor Objecting to the Claim of Kmart Holding Corporation
(Claim No. 10) and Memorandum of Law

by mailing via first class U.S. Mail, with sufficient postage affixed, to the entities listed below,
at the addresses indicated below:

          Kmart Holding Corporation                   Comet Clothing Company, LLC
          Steven J. Reisman, Esq.                     6117 Blue Circle Drive, Ste. 100
          Katten Muchin Rosenman LLP                  Minnetonka, MN 55343
          575 Madison Avenue
          New York, NY 10022-2585

          Sarah J. Wencil
          Office of the U.S. Trustee Region 12
          300 S. Fourth Street, Ste. 1015
          Minneapolis, MN 55415


Executed on: April 27, 2021            Signed: /s/ Linda Marie Smith
                                              Linda Marie Smith
                                              Fabyanske, Westra, Hart & Thomson, P.A.
                                              333 South Seventh Street
                                              Suite 2600
                                              Minneapolis, MN 55402
                                              Telephone: 612-359-7600
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